          Case 1:22-cv-01872-EDK Document 9 Filed 02/13/23 Page 1 of 2




                    IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                                     _____________

                                         No. 22-1872 T
                                 (Chief Judge Elaine D. Kaplan)

                                       MATTEO SARDO,

                                                                  Plaintiff,

                                                 v.

                                     THE UNITED STATES,
                                                         Defendant.
                            _________________________________

                    UNITED STATES' UNOPPOSED MOTION FOR
                ENLARGEMENT OF TIME TO RESPOND TO COMPLAINT
                       _________________________________

       Defendant, the United States, respectfully moves the Court, pursuant to RCFC 6(b) and

6.1, for an enlargement of time of 60 days, from February 18, 2023, to and including April 22,

2023, in which to respond to plaintiff’s complaint. (Dkt. No. 1). This is the first enlargement

requested for this purpose. Defendant’s counsel has contacted plaintiff’s counsel who has stated

that he has no objection to the extension sought by this motion. As good cause therefor,

defendant states:

       Plaintiff filed his complaint on December 20, 2022, seeking a refund of withholdings for

his 2019 tax year. Upon receipt of the complaint, defendant’s counsel forwarded a copy to the

Office of Chief Counsel of the Internal Revenue Service (“IRS”) and requested that it assemble

the administrative files and prepare a formal recommendation regarding the defense of the case.

See 28 U.S.C. § 520. As of the date of this motion, defendant’s counsel has received only a

preliminary defense recommendation, because the relevant administrative files have not yet been

located. After the relevant files are located and retrieved, the IRS Chief Counsel’s office will



                                                -1-
           Case 1:22-cv-01872-EDK Document 9 Filed 02/13/23 Page 2 of 2




need to prepare a supplemental defense recommendation based on information contained in the

files. Receipt and review of these materials from the IRS are necessary for defendant to file a

meaningful response to the complaint.

       Defendant’s counsel respectfully requests a 60-day enlargement of time to enable the IRS

to complete its work in sufficient time for defendant to prepare an answer or other response to

the complaint. Plaintiff’s counsel has advised defendant’s counsel that he is unopposed to the

relief sought.

       WHEREFORE, defendant requests that the deadline for it to answer or otherwise respond

to the complaint be extended to April 22, 2023.

                                             Respectfully submitted,

Date: February 13, 2023                      __/s/ Anthony M. Cognasi_______
                                             ANTHONY M. COGNASI
                                             Attorney of Record
                                             U.S. Department of Justice
                                             Tax Division
                                             Court of Federal Claims Section
                                             Post Office Box 26
                                             Washington, D.C. 20044
                                             202-514-0600 (v)
                                             202-514-9440 (f)
                                             Anthony.Cognasi@usdoj.gov

                                             DAVID A. HUBBERT
                                              Deputy Assistant Attorney General
                                             DAVID I. PINCUS
                                              Chief, Court of Federal Claims Section
                                             JASON BERGMANN
                                              Assistant Chief, Court of Federal Claims Section


                                                /s/ Jason Bergmann
                                             Of Counsel




                                               -2-
